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 8
      TEAMLAB INC.
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10
                            UNITED STATES DISTRICT COURT

11
                          CENTRAL DISTRICT OF CALIFORNIA

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       TEAMLAB INC., a Japanese              Case No.: 2:19-cv-06906-VAP-GJS
       corporation,
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15                      Plaintiff,           FIRST AMENDED COMPLAINT
                                             FOR:
16     vs.
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                                                (1) Copyright Infringement –
       MUSEUM OF DREAM SPACE,                       17 U.S.C. § 501 et seq.
18     LLC, a California limited liability
19     company, and DAHOOO
       AMERICAN CORPORATION, an
20     Illinois corporation,
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                        Defendants.
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                     TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
                          MUSEUM OF DREAM SPACE, LLC, ET ANO.
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 1         Plaintiff teamLab Inc. (“teamLab”), by its undersigned attorneys Cowan,
 2   DeBaets, Abrahams & Sheppard LLP, hereby submits its First Amended Complaint
 3   against defendants Museum of Dream Space, LLC (“MODS”) and Dahooo American
 4   Corporation (“Dahooo”; collectively with MODS, “Defendants”), as follows:
 5                                NATURE OF THE ACTION
 6         1.     This is an action for copyright infringement based on Defendants’ blatant
 7   copying of teamLab’s original copyrighted expressive works of digital interactive art,
 8   direct copying of images depicting teamLab’s expressive works, and creation of
 9   unauthorized derivative works in the form of photographs of physical exhibits.
10         2.     Upon information and belief, Defendants were aware of and had access to
11   teamLab’s original works, which were created well before Defendants’ infringing
12   works.
13         3.     Defendants copied copyright-protectable elements of teamLab’s original
14   works in creating at least two of their exhibits for their Los Angeles-based art exhibition
15   held at the Museum of Dream Space (the “MODS Museum”).
16         4.     The two physical works created by Defendants that are at issue are
17   substantially similar to two of teamLab’s original works.
18         5.     Upon information and belief, Defendants, as the purveyors of similar
19   digital interactive art exhibitions, and/or their personnel, principals, or affiliates, knew
20   or reasonably should have known that teamLab – an experienced, well-known, and
21   internationally renowned art collective – would have owned the copyrights in its
22   original works.
23         6.     Defendants also made verbatim copies of still images owned by teamLab
24   of teamLab’s works, constituting infringement of the images by unlawful reproduction,
25   as well as unlawful public display by posting those images on Defendants’ website and
26   social media accounts to promote the MODS Museum.
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28                     TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 1         7.     Upon information and belief, Defendants also took pictures of teamLab’s
 2   physical exhibits and posted them online, thereby creating and publicly displaying
 3   unauthorized derivative works of the teamLab exhibits.
 4                                       THE PARTIES
 5         8.     teamLab is an interdisciplinary art collective headquartered in Tokyo,
 6   Japan and incorporated under the laws of Japan. It employs numerous artists, designers,
 7   computer scientists, and engineers to create large-scale digital works of art in the form
 8   of interactive experiential displays.
 9         9.     The mission of the collective is to explore the relationship between
10   humanity and nature by creating immersive digital art exhibitions that provide viewers
11   with a unique aesthetic and sensory experience.
12         10.    MODS is a California limited liability company formed in 2018 that, upon
13   information and belief, operates the MODS Museum. The MODS Museum space in
14   Los Angeles opened in or about May 2019; the MODS Museum claims it is the first
15   museum mainly exhibiting digital art in the United States.
16         11.    Dahooo is an Illinois corporation. Upon information and belief, Dahooo
17   owns MODS and/or the MODS Museum.
18                              JURISDICTION AND VENUE
19         12.    Subject matter jurisdiction is proper in this Court under 28 U.S.C. §
20   1338(a) and 28 U.S.C. § 1331.
21         13.    Subject matter jurisdiction is also proper in this Court under 28 U.S.C. §
22   1332(a) because there is complete diversity between teamLab, a citizen of Japan, and
23   Defendants (MODS, a citizen of California, and Dahooo, a citizen of Illinois) and the
24   amount in controversy exceeds $75,000 exclusive of interest and costs.
25         14.    This Court has personal jurisdiction over MODS because MODS is a
26   California LLC organized and existing under the laws of California, is licensed to do
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28                   TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 1   business in California, and is headquartered in Los Angeles, California. Further, a
 2   substantial portion of the conduct at issue occurred in this judicial district.
 3          15.    The Court has personal jurisdiction over Dahooo because, on information
 4   and belief, MODS is an alter-ego of Dahooo in that Dahooo owns and controls MODS
 5   and/or the MODS Museum such that MODS and/or the MODS Museum are Dahooo’s
 6   mere instrumentalities; it shares managers and/or directors with Dahooo; it is not
 7   separate from Dahooo in any meaningful way; and to allow Dahooo to avoid jurisdiction
 8   in California would promote injustice.
 9          16.    Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a
10   substantial part of the events or omissions giving rise to teamLab’s claims occurred in
11   this judicial district.
12          17.    teamLab has standing and the capacity to sue for copyright infringement
13   because, as a Japanese company, it is entitled to enforce its copyrights in the United
14   States pursuant to 17 U.S.C. § 104(b)(1)-(2) and the Berne Convention for the
15   Protection of Literary and Artistic Works (to which the United States is a party through
16   the Berne Convention Implementation Act of 1988).
17          18.    Even though its copyright registrations in its exhibits are pending, teamLab
18   is entitled to sue in federal court because its works are not “United States Works” as
19   defined by the Copyright Act. See id. §§ 101; 411(a).
20          19.    As such, teamLab maintains exclusive rights under the Copyright Act, 17
21   U.S.C. § 106, including the right to reproduce its original works and to distribute and
22   publicly display the same and copies thereof, and to create derivative works.
23                             INTRADISTRICT ASSIGNMENT
24          20.    This action should be assigned to the Los Angeles Division, because this
25   action arises in Los Angeles County.
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28                     TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 1                                             FACTS
 2   teamLab Background
 3         21.    Established in 2001, teamLab owns the copyrights in and to dozens of
 4   mixed-media interactive audiovisual and sculptural works that have appeared in public
 5   exhibitions (in both permanent collections and limited exhibitions) around the world for
 6   many years. teamLab also owns the copyrights in and to still images depicting its
 7   works.
 8         22.    Article 15 of the Japanese Copyright Law (Act No. 38 of May 6, 1970)
 9   states: “For a work (except a work of computer programming) that the employee of a
10   corporation or other employer . . ., makes in the course of duty at the initiative of the
11   corporation, etc., and which the corporation, etc. makes public as a work of its own
12   authorship, the author is the corporation, etc., so long as it is not stipulated otherwise in
13   a contract, in employment rules, or elsewhere at the time the work is made.” Under
14   Japanese law, teamLab is the author and owner of all of its works, including the works
15   at issue here. teamLab is therefore the legal owner of all copyright rights therein
16   because the works are collaborative pieces of art designed, programmed, and created by
17   artists employed by teamLab, Inc., the collective’s corporate entity.
18         23.    teamLab has been creating interactive works of art for more than 15 years,
19   and has put on exhibitions around the globe, including in London, Sydney, Singapore,
20   Istanbul, and Pace’s Art + Technology Gallery in Menlo Park, California; in 2018, it
21   opened a 107,000-square-foot interactive museum in Tokyo, teamLab Borderless.
22         24.    The exhibits – which often cost millions of dollars to create – have earned
23   teamLab prestigious recognitions including the Thea Award for Outstanding
24   Achievement for themed entertainment, an impressive accolade similarly awarded to
25   both Tokyo DisneySea and Universal Studios Japan.
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28                    TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 1         25.   teamLab has worked with prominent global clients such as Paris’ La
 2   Villette, Marina Bay Sands Pte. Ltd., National Museum of Singapore, and Pace Gallery.
 3   teamLab’s collaboration with Paris’ La Villette gained significant global attention as
 4   the centerpiece of the Japan-France 150th anniversary joint project celebrating the
 5   establishment of diplomatic relations between the two countries.
 6         26.   teamLab’s works and art exhibitions have also appeared in popular culture
 7   – for example in a music video of rapper and producer DJ Swizz Beatz – and have been
 8   licensed for advertisements and profiled by mainstream American media outlets such
 9   as CNN and Vice.
10   teamLab’s Original Works and MODS’ Infringing Works
11         The teamLab Exhibits
12         27.   The first teamLab exhibit Defendants have infringed is a composite
13   exhibition of two interrelated and intertwined works exhibited together in the same
14   space titled “Universe of Water Particles, Transcending Boundaries” (created and
15   published in Japan in 2013) and “Flowers and People, Cannot be Controlled but Live
16   Together” (created in Japan and published in London in 2015) (collectively,
17   “Boundaries”); the second is titled “Crystal Universe” (“Crystal”; together with
18   “Boundaries,” the “Original Works”).
19         28.   “Boundaries” is an original work of sculptural visual art that was created
20   (as a merger of the two works mentioned above) by teamLab in Japan by Japanese artists
21   in 2017 and was first displayed at Pace Gallery in London from January 25 through
22   March 11, 2017. “Boundaries” appeared in part as follows:
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28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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28                 TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 1         29.    “Boundaries”      (a     video     of     which      is     available     at
 2   https://www.youtube.com/watch?v=bqDeXfWKb-k), consists of the following artistic
 3   elements: water expressed as a continuum of innumerable light-blue particles; a
 4   waterfall expressed by flowing water which is a collection of streaks of particles; water
 5   flowing uninterruptedly from a waterfall onto the floor; multicolored flowers drawn
 6   behind the waterfall on the walls and floors; when a person stands on the actual work,
 7   that person becomes an obstacle for the streams of water as if a rock is blocking the
 8   water flow, and the work gives off the effect of changing water flow as a result of the
 9   person standing in the water; and the work is also designed so that certain elements
10   produce the effects of blooming flowers whenever a person stands in the flowing body
11   of water and hinders the water flow. The effect is that a part of the work of art is ever
12   transforming as a result of the presence of viewers. It was created by utilizing the
13   technique by which the 3D space is recognized like flat space as used in ancient
14   Japanese paintings.
15         30.    “Boundaries” was created by a team of artists, graphic designers, and
16   computer programmers who created image boards and key visuals, modeled the visuals
17   through 3D data modeling, and ultimately rendered the visuals in the form of perceptible
18   digital animation in a 3D space. These digital elements are saved and stored in
19   computer memory. teamLab technicians and artists also selected and installed special
20   projectors and sensors as part of the overall work in the exhibition space to create an
21   immersive sculptural experience and used blended images using multiple projectors and
22   integrated and aligned sensors to supply images and music.
23         31.    In this sense, “Boundaries” is a visual work of art created in a fixed 3D
24   space which is a combination of physical elements and digital elements, and is fixed as
25   one work by both elements being fixed in a tangible medium of expression (including
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28                   TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  1   in the room housing the exhibition, in electronic media, and via the projectors and
  2   sensors noted above), for more than a transitory duration.
  3         32.    The digital images of “Boundaries” (like the water flow on the ground and
  4   the blooming flowers, providing the sensation of motion and passage of time) vary in
  5   accordance with the underlying computer algorithm that is designed and programmed
  6   by teamLab’s artists and programmers. This variety is not dependent on a viewer’s
  7   acts, and the large-scale elements of “Boundaries” such as the location of the major
  8   elements like the waterfall, are constant. Since only some of the digital images in
  9   “Boundaries” vary due to viewers’ acts in accordance with the algorithm, such viewers’
 10   acts do not have influence on the vast majority of other parts of “Boundaries,” and as
 11   described above, this work exists without viewers’ acts. Interactivity is one feature of
 12   “Boundaries” and simply adds an extra dimension to the work; in light of the
 13   protectability of works such as video games, this limited interactivity does not impact
 14   the copyrightability of “Boundaries.”
 15         33.    “Boundaries” is subject to protection under the Copyright Act, 17 U.S.C.
 16   § 104(b), because on the date of its first publication, one or more of its authors were
 17   nationals or domiciliaries of a treaty party as defined in 17 U.S.C. § 101, namely, Japan,
 18   and because “Boundaries” was first published in a foreign nation that, as of that date,
 19   was a treaty party, namely the United Kingdom.
 20         34.    Defendants’ substantially similar exhibit which, upon information and
 21   belief, is titled “Season Dream,” appears in part as follows:
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 28                   TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 28                 TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 28                 TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  1         35.   An illustrative side-by-side comparison of the similarities between
  2   “Boundaries” and “Season Dream,” appears below, with “Boundaries” in the left
  3   column and “Season Dream” in the right.
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 28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 28                 TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
                         MUSEUM OF DREAM SPACE, LLC, ET ANO.
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  1         36.   teamLab’s work “Crystal” is an original work of sculptural art created by
  2   teamLab in Japan in 2015 and was first displayed at Pola Museum Annex in Japan in
  3   2015. It appeared in part as follows:
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 28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  8         37.    This interactive installation consists of lights forming a sculpture (a video
  9   of “Crystal” is available at https://www.youtube.com/watch?v=NoDK3dZ8q4M). This
 10   exhibit also uses mirrors and reflective floor and ceiling surfaces to express an illusion
 11   of infinite lights. Viewers can walk through the space, feeling as if they are surrounded
 12   by lights, and their positioning and interaction, among other things through a
 13   smartphone app, influences how the lights forming the sculptural aspects of the work
 14   appear.
 15         38.     “Crystal” was created by a team of artists, graphic designers, computer
 16   programmers, and technicians who created image boards and key visuals, modeled the
 17   visuals through 3D data modeling (the digital elements being saved and stored in
 18   computer memory), and ultimately rendered the work by installation of LED lights in
 19   the space, in the form of a highly creative and painstakingly arranged physical light
 20   display. teamLab technicians selected and installed special hardware including LED
 21   lights and sensors. teamLab technicians also developed an application for smartphones
 22   to interact with “Crystal.”
 23         39.    In this sense, “Crystal” is a visual work of art created in a fixed 3D space
 24   combining physical and digital elements and is fixed as one work by both elements in
 25   a tangible medium of expression (including in physical lights, electronic media, and via
 26   the sensors noted above) for more than a transitory duration.
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 28                   TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  1         40.    In “Crystal,” the sculptural work of LED lights which constitutes the work
  2   does not vary and the sculptural work of LED lights is controlled by an underlying
  3   computer algorithm designed and programmed by teamLab’s artists and programmers
  4   that is not dependent on viewers’ acts. Viewers can walk through the installation and
  5   use a smartphone app to create further changes, and the change is part of the sculptural
  6   work created by lighting of the LED lights. Also, the sculptural work of LED lights
  7   itself remains fixed and most of the other parts of the work do not change. Interactivity
  8   is one feature of “Crystal” and viewers’ acts simply add an extra dimension to the work.
  9   in light of the protectability of works such as video games, this limited interactivity does
 10   not impact the copyrightability of “Crystal.”
 11         41.    “Crystal” is best described per the teamLab website as “an accumulation
 12   of light points to create a sculptural body, similar to the way distinct dots of color form
 13   an image in a pointillist painting.”
 14         42.    “Crystal” is subject to protection under the Copyright Act, 17 U.S.C. §
 15   104(b), because on the date of its first publication, one or more of its authors were
 16   nationals or domiciliaries of a treaty party as defined in 17 U.S.C. § 101, namely, Japan,
 17   and because “Crystal” was first published in a foreign nation that, as of that date, was a
 18   treaty party, namely Japan.
 19         43.    Defendants’ substantially similar work which, upon information and belief
 20   is titled “Galaxy Dream” (together with “Season Dream,” the “Infringing Works”)
 21   appears in part as follows:
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 28                    TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 28                 TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 16         44.   An illustrative side-by-side comparison of the similarities between
 17   “Crystal” and “Galaxy Dream,” appears below, with “Crystal” in the left column and
 18   “Galaxy Dream” in the right.
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 28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 21         45.   Defendants admitted in publicly available comments in their own social
 22   media posts that they had access to teamLab’s works, acknowledging that MODS
 23   exhibits look similar to teamLab works (highlighting added):
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 28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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 20         46.   As further proof of access, Defendants also copied verbatim text from
 21   teamLab’s website that teamLab used to describe its works of art. For instance, the
 22   following appeared on the MODS Museum website:
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 28                  TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  1         The very same text can be found on the teamLab website, which was established
  2   in 2003, well before the MODS Museum website was created:
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  7         47.       Furthermore, as mentioned below, the Defendants copied still images of
  8   teamLab’s exhibits in order to advertise the MODS Museum in their online postings
  9   and attempted to pass off teamLab’s works as their own at the MODS Museum
 10   exhibition. Such acts by the Defendants make it even more evident that the
 11   Defendants had access to teamLab’s works and that the Defendants consciously
 12   copied teamLab’s works.
 13   The teamLab Still Images
 14         48.       Various still images owned by teamLab depict teamLab’s exhibits
 15   (hereinafter, collectively, the “teamLab Images”). The teamLab Images were created
 16   by teamLab in Japan by Japanese artists employed by teamLab by photographing live
 17   teamLab exhibits. The teamLab Images appear on teamLab’s website.
 18         49.       The teamLab Images, as still-image works of visual art, are fixed and
 19   original with teamLab.
 20         50.       The timing of creation for the teamLab Images is set forth in the
 21   following table. The teamLab Images are considered “unpublished” under 17 U.S.C.
 22   § 104(a) because no copies were ever distributed to the public by sale, transfer of
 23   ownership, or by rental, lease, or lending or offered to a third party for further
 24   distribution.
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 28                      TEAMLAB INC.’S FIRST AMENDED COMPLAINT AGAINST
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  1        teamLab Image                           Timing of Creation
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  1         51.    The teamLab Images are subject to protection under the Copyright Act,
  2   17 U.S.C. § 104(a), because as unpublished works, their national origin is irrelevant.
  3   Nonetheless, they were authored by nationals or domiciliaries of a treaty party as
  4   defined in 17 U.S.C. § 101, namely, Japan, and posted on teamLab’s website.
  5         52.    Defendants, in their online postings to market the MODS Museum,
  6   copied the teamLab Images verbatim and attempted to pass off teamLab’s works as
  7   their own in order to draw attention and ticket sales to the nascent MODS Museum
  8   and its planned grand opening. These direct duplications are listed in the table below;
  9   the teamLab Images appear in the left column and the Defendants’ infringing uses
 10   (collectively, the “Infringing Images”) appear in the right column.
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 12        53.   Third-party websites even took notice of MODS’ copying of well-known
 13   teamLab works, for instance, at https://wacowla.com/blog/2019/01/23/museum-of-
 14   dream-space-open-spring-2019/:
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  1   Defendants’ Photographs of other teamLab Exhibits
  2           54.   Upon information and belief, Defendants, or someone on behalf of
  3   Defendants, photographed various other teamLab exhibits and posted the images of the
  4   exhibits online to promote the MODS Museum. The photographs of the exhibits
  5   constitute unauthorized derivative works of the exhibits (the “Infringing Derivatives”).
  6           55.   The teamLab exhibits at issue include works titled “Forest of Resonating
  7   Lamps,” “Universe of Water Particles on a Rock Where People Gather,” and “Wander
  8   through the Crystal World.” They are collectively referred to as the “Photographed
  9   Exhibits.”
 10           56.   The Photographed Exhibits are original works of art whose authorship
 11   originated with teamLab.
 12           57.   “Forest of Resonating Lamps” is a 3D sculptural exhibition consisting of
 13   Murano glass lamps suspended from the ceiling of a mirrored room (a video of the work
 14   appears at https://www.youtube.com/watch?v=7mK_uOqiQik).               The lamps are
 15   arranged in a staggered configuration that forms a static sculptural grid through which
 16   viewers can walk. The lamps change lighting and colors in accordance with a computer
 17   algorithm designed and programmed by teamLab’s artists and programmers, with these
 18   digital elements being saved and stored in computer memory. Also, the proximity of
 19   viewers changes a part of the lamps’ lighting and colors subsisting in the work in
 20   accordance with the algorithm, but the Murano glass lamps themselves and the
 21   arrangement of the lamps and the lighting and colors of most of them are not affected
 22   by viewers’ acts.    Interactivity is one feature of “Forest of Resonating Lamps” and
 23   simply adds an extra dimension to the work; in light of the protectability of works such
 24   as video games, this limited interactivity does not impact the copyrightability of this
 25   work.
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  1         58.    “Forest of Resonating Lamps” is a sculptural work of visual art created in
  2   a fixed 3D space which combines physical and digital elements and is fixed in a tangible
  3   medium of expression (including electronic media and physical items such as Murano
  4   glass lamps) for more than a transitory duration.
  5         59.    “Universe of Water Particles on a Rock Where People Gather” (seen here
  6   https://www.youtube.com/watch?v=iUSXVxOb4Hk) is similar in appearance and
  7   nature to “Boundaries” and the process of its creation largely mirrors that of
  8   “Boundaries,” as described above.     It is an experiential 3D sculptural work housed in
  9   a three-dimensional space simulating water falling onto a rock where the flow of the
 10   water draws the shape of the waterfall. In this sense, it is a visual work of art created
 11   in a fixed 3D space combining physical and digital elements and is fixed as one work
 12   by both elements being fixed in a tangible medium of expression (including the space
 13   housing the exhibit and geographic features therein, electronic media on which the
 14   digital elements are saved and stored, and projectors, and sensors) for more than a
 15   transitory duration.
 16         60.    As with “Boundaries,” the digital images of this work (like the water
 17   flowing on the ground and the blooming flowers) vary in accordance with an underlying
 18   computer algorithm that is designed and programmed by teamLab’s artists and
 19   programmers. This variety is not dependent on viewers’ acts. Only a part of digital
 20   images of this work vary due to viewers’ acts in accordance with the algorithm, and the
 21   vast majority of this work of art exists without viewers’ acts, and large-scale elements
 22   of the work, such as the location of the waterfall and rock, are constant. Viewers’ acts
 23   simply add extra elements to the work. Since only some of the digital images in
 24   “Universe of Water Particles” vary due to viewers’ acts in accordance with the
 25   algorithm, such viewers’ acts do not have influence on the vast majority of other parts
 26   of the work and as described above, this work exists without viewers’ acts. Interactivity
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  1   is one feature of “Universe of Water Particle” and simply adds an extra dimension to
  2   the work; in light of the protectability of works such as video games, this limited
  3   interactivity does not impact the copyrightability of “Universe of Water Particles.”
  4         61.    “Wander       through       the     Crystal      World”          (seen   here
  5   https://www.youtube.com/watch?v=htGsCscBRIk) is similar in appearance and nature
  6   to “Crystal,” and the process of its creation largely mirrors that of “Crystal,” as
  7   described above. This work is a combination of physical elements and digital elements
  8   and is created in a fixed 3D space, and the work is fixed as one work by both elements
  9   being fixed in a tangible medium of expression (including the LED light fixtures and
 10   electronic media on which the digital elements are saved and stored) for more than a
 11   transitory duration.
 12         62.    “Wander through the Crystal World” is similar to “Crystal” in that the
 13   fixed sculptural work of LED lights itself which embodies this work does not vary and
 14   the appearance of the lights is primarily controlled by the underlying computer
 15   algorithm designed and programmed by teamLab’s artists and programmers and is not
 16   dependent on viewer’s acts. Viewers can walk through the installation and use a
 17   smartphone app to create certain changes, and the changes are part of the sculptural
 18   work that is created by lighting of the LED lights, but the sculptural work of LED lights
 19   itself remains fixed. In this sense, viewers’ acts simply add extra elements to the work.
 20   Interactivity is one feature of “Wander through the Crystal World” and simply adds an
 21   extra dimension to the work; in light of the protectability of works such as video games,
 22   this limited interactivity does not impact the copyrightability of this work.
 23         63.    “Wander through the Crystal World” is also best described per the
 24   teamLab website as “an accumulation of light points to create a sculptural body, similar
 25   to the way distinct dots of color form an image in a pointillist painting.”
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           Name of Exhibits        Timing of        Publication      Publication Place
  1                                Creation         Date
  2        “Forest of              September        September 2,     France
  3        Resonating Lamps”       2016             2016
  4        “Universe of Water      June 2018        June 21, 2018    Japan
  5        Particles on a Rock
  6        Where People
  7        Gather”
  8        “Wander through the June 2018            June 21, 2018    Japan
  9        Crystal World”
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 11         64.    The Photographed Exhibits were created in Japan. The timing of their
 12   creation, and their dates and locations of first publication (via public exhibitions) appear
 13   in the table below.
 14         65.    The Photographed Exhibits are subject to protection under the Copyright
 15   Act, 17 U.S.C. § 104(b), because on the date of their first publication, one or more of
 16   their authors were nationals or domiciliaries of a treaty party as defined in 17 U.S.C. §
 17   101, namely, Japan, and because they were first published in a foreign nation that, as of
 18   that date, was a treaty party, namely Japan or France.
 19         66.    Defendants’ Infringing Derivatives are listed below, with images of the
 20   Photographed Exhibits appearing in the left column and the Infringing Derivatives
 21   appearing in the right column.
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 10   Discovery of the Infringements
 11         67.   In early 2019, teamLab discovered that Defendants – who had not yet
 12   opened the MODS Museum – were promoting and advertising the upcoming grand
 13   opening of the MODS Museum on the internet via a website (www.modsla.com) and
 14   social media accounts (including Facebook and Instagram) using images of teamLab’s
 15   works. These images consisted of the Infringing Images and Infringing Derivatives.
 16         68.   In February 2019, teamLab demanded the removal of certain images and
 17   videos, including Infringing Images and Infringing Derivatives, from the MODS
 18   website and social media accounts, and the removal of infringing content from MODS’
 19   upcoming exhibition, that bore substantial similarities to teamLab’s works and images
 20   and videos of works.
 21         69.   In March and April 2019, teamLab continued to find infringing images and
 22   videos on the MODS website, on YouTube, and on social media platforms. Many of
 23   those works remain live and online.
 24         70.   In May 2019 MODS proceeded to publicly display the Infringing Works
 25   starting at the MODS Museum grand opening.
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  1         71.    By continuing to use the Infringing Images and Infringing Derivatives, and
  2   by publicly displaying the Infringing Works, Defendants have consciously flouted their
  3   legal obligation to refrain from infringing teamLab’s copyrights in the Original Works,
  4   the teamLab Images, and the Photographed Exhibits.
  5                                  CLAIMS FOR RELIEF
  6                                          COUNT I
  7                COPYRIGHT INFRINGEMENT – ORIGINAL WORKS
  8                                       (17 U.S.C. § 501)
  9         72.    teamLab incorporates the allegations of Paragraphs 1 through 71 of its
 10   Complaint as if restated herein.
 11         73.    teamLab’s Original Works, including “Boundaries” and “Crystal” are
 12   original works fixed in tangible mediums of expression in the form of pictorial, graphic,
 13   or sculptural works, and/or audiovisual works. teamLab’s Original Works, including
 14   “Boundaries” and “Crystal” are therefore protected under § 102(a)(5)-(6) of the
 15   Copyright Act.
 16         74.    Each of the ultimate artworks “Boundaries” and “Crystal” is a combination
 17   of physical elements and digital elements created in a fixed 3D space by human authors,
 18   and is fixed as one work by both elements being fixed in tangible mediums of expression
 19   (including electronic and physical media) for more than transitory duration.
 20   “Boundaries” and “Crystal” are perceptible by one’s senses for more than a transitory
 21   duration because physical elements are unchangeable; aspects of the digital elements
 22   (saved and stored in computer memory), i.e., sights, sounds, and experiences, vary in
 23   accordance with a computer algorithm upon which these works are built; because the
 24   overall design and placement of the major artistic elements and structures in the Original
 25   Works as a whole is constant; and because the Original Works are perpetual in that they
 26   continually show their artistic content with or without viewers present..
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  1         75.    Further, the fixation of the audiovisual aspects of the Original Works’
  2   fixation is made simultaneously with their transmission, and as works that incorporate
  3   elements of improvisation, viewer participation during the Original Works’
  4   performance does not undermine their fixation.           Interactivity is one feature of
  5   “Boundaries” and “Crystal” and simply adds an extra dimension to the works; in light
  6   of the protectability of works such as video games, this limited interactivity does not
  7   impact the copyrightability of the Original Works.
  8         76.    teamLab owns the copyrights in the Original Works as works for hire by
  9   its employees.
 10         77.    Defendants had access to teamLab’s works, including the Original Works,
 11   and were aware of the existence of the same prior to creating their Infringing Works.
 12   Defendants admitted as much in social media posts as well as through copying the
 13   teamLab Images to advertise the MODS Museum, copying text verbatim from
 14   teamLab’s website, and attempting to pass off photos taken at teamLab exhibitions as
 15   MODS works.
 16         78.    Defendants have copied protected expression from teamLab’s work
 17   “Boundaries” into “Seasons Dream,” including without limitation the multicolored
 18   flowers drawn behind the waterfall on the walls and floor of the exhibit, and the streams
 19   of water cascading down the wall and onto the ground. Both works also contain artwork
 20   flanking either side of the waterfall; while those individual pieces may be different, they
 21   both give off the appearance of outer space, stars, or organic plant life.
 22         79.    To the extent any individual element is not itself protectable, the unique
 23   selection, arrangement, and coordination of elements (both copyrightable, such as
 24   specific graphical artwork rendered during the exhibit, and uncopyrightable, such as
 25   any purely ephemeral elements and stylistic and technological techniques and choices
 26   that make the Original Works unique) in “Boundaries” is protectable and Defendants’
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  1   work “Seasons Dream” replicates the original and protectable selection, arrangement,
  2   and coordination of teamLab’s work. “Season Dream” is substantially similar in total
  3   concept and feel to “Boundaries.”
  4         80.    Defendants have copied protected expression from teamLab’s work
  5   “Crystal” into “Galaxy Dream,” including without limitation, the orientation of the
  6   lights in the room, the similar use of colors, the use of blinking patterns, and the use of
  7   mirrors and reflective floor and ceiling surfaces to create an illusion of infinite lights.
  8         81.    To the extent any individual element is not itself protectable, the unique
  9   selection, arrangement, and coordination of elements (both copyrightable, such as the
 10   arrangement of LED lights and specific graphical artwork rendered during the exhibit,
 11   and uncopyrightable, such as any purely ephemeral               elements and stylistic and
 12   technological techniques and choices that make the Original Works unique) in “Crystal”
 13   is protectable and Defendants’ work “Galaxy Dream” replicates the protectable original
 14   selection, arrangement, and coordination of teamLab’s work. “Galaxy Dream” is
 15   substantially similar in total concept and feel to “Crystal.”
 16         82.    Defendants did not procure a license or any other form of permission to
 17   copy any protectable elements of teamLab’s Original Works, and as such any copying
 18   was unauthorized.
 19         83.    Defendants’ work “Season Dream” is substantially similar to teamLab’s
 20   “Boundaries.”
 21         84.    Defendants’ work “Galaxy Dream” is substantially similar to teamLab’s
 22   “Crystal.”
 23         85.    Defendants have infringed teamLab’s exclusive rights under 17 U.S.C. §§
 24   106(1) & (5) by reproducing and publicly displaying protected elements of the Original
 25   Works.
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  1         86.    teamLab has been extensively damaged by Defendants’ infringement of
  2   the Original Works.
  3         87.    teamLab routinely receives license fees in the range of one million to
  4   several million dollars for six-month licensing periods in connection with exhibitions
  5   of its works. These fees can be fixed or contingent based on revenue generated by a
  6   given exhibition, or a combination of both.
  7         88.    teamLab exhibitions attract significant visitors and generate millions of
  8   dollars in revenues. For instance, from the time it opened on June 21, 2018, teamLab’s
  9   Tokyo museum teamLab Borderless, welcomed about 2,300,000 visitors, many of
 10   whom stated, in response to a survey, that they traveled to Tokyo specifically to visit
 11   teamLab’s museum. teamLab Borderless garnered more than $50,000,000 in total
 12   earnings within a year of its opening.
 13         89.    License fees in connection with the use of teamLab’s works in commercial
 14   advertising projects generate hundreds of thousands of dollars’ worth of fees.
 15         90.    Upon information and belief, Defendants continue to reap significant
 16   financial benefits, including ticket sales and other profits, by displaying the Infringing
 17   Works as part of the MODS Museum exhibition.
 18         91.    Upon information and belief, Defendants reaped profits far in excess of
 19   $75,000 on the back of teamLab’s copyrighted works.
 20         92.    teamLab will continue to be harmed by Defendants’ infringing conduct
 21   and requires this Court’s intervention because, upon information and belief, Defendants
 22   have no intention of ceasing their infringements and plan to imminently create and open
 23   additional exhibitions, including in Las Vegas, Nevada.
 24         93.    teamLab has been irreparably harmed and has no adequate remedy at law
 25   and is therefore entitled to injunctive relief against Defendants.
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  1                                          COUNT II
  2                  COPYRIGHT INFRINGEMENT – TEAMLAB IMAGES
  3                                        (17 U.S.C. § 501)
  4            94.   teamLab incorporates the allegations of Paragraphs 1 through 93 of its
  5   Complaint as if restated herein.
  6            95.   The teamLab Images are original works fixed in tangible mediums of
  7   expression in the form of pictorial or graphic works and are therefore protected under
  8   17 U.S.C. § 102(5).
  9            96.   teamLab owns the copyrights in the teamLab Images as works for hire by
 10   its employees.
 11            97.   Defendants had access to the teamLab Images and were aware of the
 12   existence of the same prior to creating their Infringing Images given that the Infringing
 13   Images are exact replicas of the teamLab Images.
 14            98.   Defendants copied the teamLab Images, if not verbatim than substantially
 15   in their entireties, including most if not all original expressive elements thereof, and
 16   posted the unauthorized copies on Defendants’ websites and social media accounts in
 17   order to advertise the MODS Museum.
 18            99.   Defendants’ conduct violates teamLab’s rights under 17 U.S.C. §§ 106(1)
 19   & (5).
 20            100. Defendants did not procure a license or any other form of permission to
 21   copy the teamLab Images, and as such any copying was unauthorized.
 22            101. Defendants’ Infringing Images replicate the total concept and feel of the
 23   teamLab Images
 24            102. Defendants’ Infringing Images are substantially similar to the teamLab
 25   Images, and are in fact, identical or nearly identical.
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  1         103. teamLab has been extensively damaged by Defendants’ use of the
  2   Infringing Images. teamLab routinely receives fees in the range of approximately
  3   $94,000 to $280,000 for granting licenses to third parties to use teamLab’s original
  4   works in images and/or videos for purposes of advertising third-party products or
  5   services.
  6         104. Upon information and belief, Defendants received significant financial
  7   benefits, including profits, by using unauthorized copies of the teamLab Images to
  8   advertise the grand opening of the MODS Museum and continued using the Infringing
  9   Images to sell tickets even after the MODS Museum opened.
 10         105. Upon information and belief, Defendants reaped profits far in excess of
 11   $75,000 on the back of teamLab’s copyrighted works.
 12         106. teamLab will continue to be harmed by Defendants’ infringing conduct
 13   and requires this Court’s intervention because, upon information and belief, Defendants
 14   have no intention of ceasing their infringements.
 15         107. teamLab has been irreparably harmed and has no adequate remedy at law
 16   and is therefore entitled to injunctive relief against Defendants.
 17                                         COUNT III
 18          COPYRIGHT INFRINGEMENT – PHOTOGRAPHED EXHIBITS
 19                                        (17 U.S.C. § 501)
 20         108. teamLab incorporates the allegations of Paragraphs 1 through 107 of its
 21   Complaint as if restated herein.
 22         109. The Photographed Exhibits are original works fixed in tangible mediums
 23   of expression in the form of pictorial, graphic, or sculptural works, and/or audiovisual
 24   works. teamLab’s Photographed Exhibits are therefore protected under § 102(a)(5)-(6)
 25   of the Copyright Act.
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  1         110. Each of the artworks embodied in the Photographed Exhibits consists of a
  2   combination of physical elements and digital elements created by human authors, and
  3   both elements are fixed in a tangible medium of expression (including in physical
  4   spaces, on computer memory, and through projectors and sensors, glass lamps. and LED
  5   lights) for more than a transitory duration. The Photographed Exhibits are fixed and
  6   perceptible by one’s senses for more than a transitory duration because physical
  7   elements are unchangeable; digital elements are saved and stored in computer memory
  8   where many aspects of the sights, sounds, and experiences vary in accordance with the
  9   works’ respective computer algorithms; because the overall design and placement of
 10   the major artistic elements and structures in the Photographed Exhibits as a whole is
 11   constant; and because the Photographed Exhibits are perpetual in that they continually
 12   show their artistic content with or without viewers present..
 13         111. Further, as discussed above, the audiovisual aspects of the Photographed
 14   Exhibits are fixed simultaneous with being transmitted, and as works that incorporate
 15   elements of improvisation, viewer participation during the Photographed Exhibits’
 16   performance does not undermine their fixation.       Interactivity is one feature of the
 17   Photographed Exhibits and simply adds an extra dimension to the works; in light of the
 18   protectability of works such as video games, this limited interactivity does not impact
 19   the copyrightability of the Photographed Exhibits.
 20         112. teamLab owns the copyrights in the Photographed Exhibits as works for
 21   hire by its employees.
 22         113. Upon information and belief, Defendants, or someone on Defendants’
 23   behalf, photographed the Photographed Exhibits and posted the images on Defendants’
 24   websites and social media accounts in order to advertise the MODS Museum.
 25         114. Defendants had access to teamLab’s works, including the Photographed
 26   Exhibits, and were aware of the existence of the same prior to creating their Infringing
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  1   Derivatives. Defendants admitted as much in social media posts as well as through
  2   copying text verbatim from teamLab’s website and attempting to pass off the Infringing
  3   Images for teamLab Images.
  4         115. Defendants      have   copied    protected   expression   from    teamLab’s
  5   Photographed Exhibits, including without limitation by capturing fixed visual images
  6   on which individual discrete expressive design elements of each of the Photographed
  7   Exhibits, such as flowing streams of water, multicolored flowers, and fixed sculptural
  8   aspects of meticulously arranged suspended lamps and hanging LED lights.
  9         116. To the extent any individual element is not protectable, the original
 10   selection, arrangement, and coordination of elements (both copyrightable, such as
 11   specific physical structures and graphical artwork rendered during the exhibit, and
 12   uncopyrightable, such as any purely ephemeral elements and stylistic and technological
 13   techniques and choices that make the Original Works unique) in the Photographed
 14   Exhibits is protectable and Defendants’ Infringing Derivatives replicate the protectable
 15   original selection, arrangement, and coordination of teamLab’s works.
 16         117. The Infringing Derivatives replicate the total concept and feel of the
 17   Photographed Exhibits.
 18         118. Defendants’ Infringing Derivatives are substantially similar to teamLab’s
 19   Photographed Exhibits.
 20         119. Defendants did not procure a license or any other form of permission to
 21   copy any protectable elements of teamLab’s Photographed Exhibits, and as such any
 22   copying or creation of derivative works was unauthorized.
 23         120. Defendants’ conduct violates teamLab’s rights under 17 U.S.C. §§ 106(2)
 24   because photographs of pictorial, graphic, or sculptural works constitute derivative
 25   works which must be authorized by the copyright owner, here, teamLab.
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  1         121. teamLab has been extensively damaged by Defendants’ infringement of
  2   the Photographed Exhibits largely for the reasons set forth in Counts I and II, in that
  3   teamLab derives substantial licensing revenue from exhibitions of its original works
  4   and licensing of images of same for advertising purposes.
  5         122. Upon information and belief, Defendants received significant financial
  6   benefits, including profits, by using its Infringing Derivatives to advertise the grand
  7   opening of the MODS Museum and continued using the same to sell tickets even after
  8   the MODS Museum opened.
  9         123. Upon information and belief, Defendants reaped profits far in excess of
 10   $75,000 on the back of teamLab’s copyrighted works.
 11         124. teamLab will continue to be harmed by Defendants’ infringing conduct
 12   and requires this Court’s intervention because, upon information and belief, Defendants
 13   have no intention of ceasing their infringements.
 14         125. teamLab has been irreparably harmed and has no adequate remedy at law
 15   and is therefore entitled to injunctive relief against Defendants.
 16                                  PRAYER FOR RELIEF
 17         WHEREFORE, teamLab respectfully requests that it be awarded judgment as
 18   follows:
 19         1.     Finding Defendants infringed teamLab’s copyrights in and to the Original
 20   Works by violating teamLab’s right to reproduce, distribute, and/or publicly display the
 21   Original Works by means of creating, distributing, and publicly displaying the
 22   substantially similar Infringing Works;
 23         2.     Finding Defendants infringed teamLab’s copyrights in and to the teamLab
 24   Images by reproducing, displaying, and distributing exact duplicates of the teamLab
 25   Images in the form of the Infringing Images;
 26         3.     Finding Defendants infringed teamLab’s copyrights in and to the
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  1   Photographed Exhibits by creating the Infringing Derivatives of the Photographed
  2   Exhibits by taking pictures of the Photographed Exhibits and reproducing, publishing,
  3   and publicly displaying said pictures on Defendants’ websites and social media
  4   accounts;
  5         4.     Awarding monetary damages pursuant to 17 U.S.C. § 504(b) including (a)
  6   teamLab’s lost revenues, including without limitation, from lost license fees, royalties,
  7   or other revenues or profits that could have been derived from authorized use of the
  8   Original Works, the teamLab Images, and creation of derivative works of the
  9   Photographed Exhibits; and (b) all of Defendants’ profits earned from use of the
 10   Infringing Works, the Infringing Images, and the Infringing Derivatives, including
 11   without limitation, from income derived from ticket sales, merchandise sales, and online
 12   advertising revenue;
 13         5.     Issuing a preliminary and permanent injunction ordering Defendants to:
 14                a. immediately dismantle and permanently take down the Infringing
 15   Works located at the MODS Museum and to refrain, from now and into the future, from
 16   reinstating or creating any exhibition, display, or other use of the Infringing Works and
 17   any works that are substantially similar to the Original Works or Infringing Works;
 18                b. immediately delete, take down, or otherwise remove all images and
 19   videos from all websites and social media accounts owned, controlled, or operated,
 20   directly or indirectly, by Defendants that depict the Original Works and/or the
 21   Infringing Works, the teamLab Images and/or Infringing Images, the Photographed
 22   Exhibits and/or Infringing Derivatives, and any works, including images and videos,
 23   that are substantially similar to any or all of the above;
 24                c. permanently cease and desist from any further copying, distribution,
 25   public display, creation of derivative works, or engaging in any other use of the Original
 26   Works and/or the Infringing Works, the teamLab Images and/or Infringing Images, the
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  1   Photographed Exhibits and/or Infringing Derivatives, and any works, including images
  2   and videos, that are substantially similar to any or all of the above;
  3                 d.    permanently cease and desist from any further infringement of
  4   teamLab’s copyrights including the creation of any works substantially similar to any
  5   works in which teamLab owns copyright rights;
  6                 e. issue a public statement on Defendants’ website(s) and any social media
  7   accounts and platforms owned, controlled, or operated, directly or indirectly, by
  8   Defendants stating that the Infringing Works, Infringing Images, and Infringing
  9   Derivatives violated teamLab’s copyrights and disclaiming any affiliation with
 10   teamLab; and
 11         6.      Awarding teamLab such other and further relief as the Court deems just
 12   and proper.
 13   Dated:        October 28, 2019
 14                                                    COWAN DEBAETS ABRAHAMS
 15                                                    & SHEPPARD, LLP
 16                                                    By: /s/Nancy E. Wolff
 17                                               Nancy E. Wolff, Esq., No. 133334
 18                                                    Scott J. Sholder, Esq., pro hac vice
 19                                                Attorneys for Plaintiff,
 20                                                TEAMLAB INC.
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